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4                             UNITED STATES DISTRICT COURT

5                             EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                 No.       2:13-cr-300-GEB
8                     Plaintiff,               ORDER DENYING PRO SE DEFENDANT
                                               RICHARD HEMSLEY’S
9          v.                                  RECONSIDEARTION OF PRE-TRIAL
                                               DETENTION DECISION
10   JOHN MAHAN, ET AL.,
11                    Defendants.
12

13               On    June    28,    2018,   Pro   se    Defendant      Richard   Hemsley

14   essentially      moves     for   reconsideration        of    the   denial    of    his

15   request    to    end   his   pretrial     detention.         However,     Hemsley   has

16   provided no changed circumstances warranting reconsideration of

17   the   pretrial     detention      decision.          Therefore,     the    motion    is

18   denied.

19               Dated:       July 3, 2018

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